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                IN THE UNITED STATES COURT OF APPEALS
                        FOR THE NINTH CIRCUIT


YASSIR FAZAGA, et al.,

                    Plaintiffs-Appellants,


                    v.                                 Nos. 12-56867, 12-56874,
                                                             13-55017
FEDERAL BUREAU OF
 INVESTIGATION, et al.,

                    Defendants-Appellees.

             NOTICE OF FILING OF CLASSIFIED MATERIALS

      The federal appellees hereby provide notice that, on March 17, 2015, the

government filed, ex parte and under seal, the Classified Brief for the Federal

Appellees, as well as the Classified Excerpts of Record, by lodging them with a

Classified Information Security Officer for transmission to this Court.

                                         Respectfully submitted,

                                         s/ Daniel Tenny
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MARCH 2015
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                          CERTIFICATE OF SERVICE

      I hereby certify that on this 17th day of March, 2015, I filed the foregoing via

the Court’s CM/ECF system. The CM/ECF system will effect service on all counsel

of record.

                                               s/ Daniel Tenny
                                               Daniel Tenny
